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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

ELIZABETH BALL                                 )
                                               )
      Plaintiff,                               )     21-cv-4840
                                               )
      v.                                       )
                                               )     Honorable Andrea R. Wood
CITY OF CHICAGO, et al.                        )
                                               )     Magistrate Jeffrey Cummings
                                               )
                                               )
      Defendants.                              )

               PLAINTIFF’S SECOND AGREED MOTION FOR
               EXTENSION TO COMPLETE DISCOVERY AND
              MOTION TO FILE THIRD AMENDED COMPLAINT

      Plaintiff Elizabeth Ball, by her undersigned attorneys, with the agreement of

Defendants, hereby moves to extend the discovery schedule by 120 days, extending

the cutoff for fact discovery to February 2, 2023.

      1.      On June 15, 2022, the Court set the following scheduling order, Dkt. 46:

           a. Fact discovery to be completed by October 5, 2022;

           b. Plaintiff shall disclose any experts by November 7, 2022;

           c. Defendants shall disclose any experts by January 7, 2023;

           d. Expert depositions shall be deposed by February 7, 2023;

      2.      Discovery production has included review and production of voluminous

amounts of Body Worn Camera footage from the day of the protest that is the basis

of Plaintiff’s Complaint.

      3.      The parties have issued their Rule 26(a)(1) disclosures, produced



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documents, videos, and other materials. The parties have also issued and answered

written discovery.

        4.    Discovery sought by Plaintiff has thus far prioritized identifying

previously unidentified Defendants. Through the course of discovery, the parties were

able to identify ten additional defendants in this matter.

        5.    On August 11, 2022, Plaintiff sought and obtained written consent from

the Defendant City and the Individual Defendant Officers to amend her complaint to

identify previously unidentified Defendants.

        6.    Plaintiff filed her Second Amended Complaint on August 12, 2022. Dkt.

48.

        7.    The Defendants have not yet answered or otherwise plead to Plaintiff’s

Second Amended Complaint.

        8.    The parties are in the process of scheduling depositions of the Individual

Defendants.

        9.    On September 28, 2022, Defendant City amended its answers to

interrogatories to correct the identity of one of the previously identified defendants.

Plaintiff has requested and received written consent from Defendants to amend her

complaint to correct the identity of this defendant.

        10.   Plaintiff, therefore, seeks leave to file her Third Amended Complaint

including the correct defendant recently identified by Defendant City.

        11.   In order to complete the remaining discovery, the parties jointly request

an extension of 120 days for the discovery deadline, with the proposed schedule as



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follows:

             a. Fact discovery to be completed by February 2, 2023;

             b. Plaintiff shall disclose any experts by March 5, 2023;

             c. Defendants shall disclose any experts by May 7, 2023;

             d. Plaintiff’s experts shall be deposed by June 7, 2023;

       12.      This is the second request for an extension of the discovery schedule and this

motion is not brought for purposes of delay.

       WHEREFORE, Plaintiff respectfully requests that the Court enter an order

granting his motion for an extension of the discovery schedule as follows:

             a. Fact discovery to be completed by February 2, 2023;

             b. Plaintiff shall disclose any experts by March 5, 2023;

             c. Defendants shall disclose any experts by May 7, 2023;

             d. Plaintiff’s experts shall be deposed by June 7, 2023;



Dated: September 29, 2022                          Respectfully submitted,

                                                   /s/ Brad J. Thomson
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                                        /s/ Vanessa del Valle
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